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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                   Southern District
                                                     __________      of California
                                                                  District of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No.    23-mj-04517
        18 USPS Parcels to "Online Makeup Store,"                            )
        5521 Mission Rd, #394, Bonsall, CA 92003                             )
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A, incorporated herein by reference.

located in the             Southern               District of                 California                , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B, incorporated herein by reference.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               ✔ contraband, fruits of crime, or other items illegally possessed;
               u
                 ✔ property designed for use, intended for use, or used in committing a crime;
                 u
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        18 U.S.C. § 1341                          Mail Fraud;
        18 U.S.C. § 1349                          Mail Fraud Conspiracy

          The application is based on these facts:
        See attached Affidavit of US Postal Inspector Darin M. White

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                     ) is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                       Applicant’s signature

                                                                                               Darin White, US Postal Inspector
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                     Telephone                        (specify reliable electronic means).


Date:       December 13, 2023
                                                                                                         Judge’s signature

City and state: San Diego, CA                                                          Hon. Michael S. Berg, U.S. Magistrate Judge
                                                                                                       Printed name and title
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 1                           AFFIDAVIT FOR SEARCH WARRANT
 2 I, Darin White, being duly sworn, hereby depose and state:
 3                                       INTRODUCTION
 4         1.      This affidavit is submitted in support of an application for a warrant to search
 5 18 parcels that were all shipped to the same United States Post Office PO Box and retrieved
 6 on the same day, December 8, 2023. The PO Box address is 5521 Mission Road, #394,
 7 Bonsall, CA 92003 (the subject PO Box). The PO Box application for the Subject PO
 8 Box shows it is registered to Michelle P. MACK and an associated business name of
 9 “Online Makeup Store.” The Subject PO Box application listed an Arizona Driver’s
10 License #D02358785, which I have confirmed through law enforcement databases was
11 issued to Michelle Paulette MACK.            MACK’s residence was recently searched by
12 investigators with California Highway Patrol and Homeland Security Investigations.
13         2.      For the reasons discussed below, the following 18 parcels that were shipped
14 to the Subject PO Box are believed to contain stolen merchandise that MACK is fencing
15 through her Amazon marketplace store, “Online Makeup Store”:
16              a. Subject Parcel 1 is a Priority Mail parcel bearing tracking number 9505 5130
17                 0563 3338 4968 13 addressed to “Online Makeup Store, 5521 Mission Road,
18                 #394, Bonsall, CA 92003 with the return address of “Chyna Johnson, 2930
19                 Weald Way, Sac CA 95833.” It was postmarked on December 4, 2023, from
20                 ZIP code 95301.
21              b. Subject Parcel 2 is a Priority Mail parcel bearing tracking number 9505 5130
22                 0563 3338 4967 76 addressed to “Online Makeup Store, 5521 Mission Road,
23                 #394, Bonsall, CA 92003” with the return address of “Chyna Johnson, 2930
24                 Weald Way, Sac CA 95833.” It was postmarked on December 4, 2023, from
25                 ZIP code 95301.
26              c. Subject Parcel 3 is a Priority Mail parcel bearing tracking number 9505 5130
27                 0563 3338 4968 51 addressed to “Online Makeup Store, 5521 Mission Road,
28                 #394, Bonsall, CA 92003” with the return address of “Chyna Johnson, 2930
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 1                Weald Way, Sac CA 95833.” It was postmarked on December 4, 2023, from
 2                ZIP code 95301.
 3            d. Subject Parcel 4 is a Priority Mail parcel bearing tracking number 9505 5130
 4                0563 3338 4967 90 addressed to “Online Makeup Store, 5521 Mission Road,
 5                #394, Bonsall, CA 92003” with the return address of “Chyna Johnson, 2930
 6                Weald Way, Sac CA 95833.” It was postmarked on December 4, 2023 from
 7                ZIP code 95301.
 8            e. Subject Parcel 5 is a Priority Mail parcel bearing tracking number 9505 5130
 9                0563 3338 4968 37 addressed to “Online Makeup Store, 5521 Mission Road,
10                #394, Bonsall, CA 92003” with the return address of “Chyna Johnson, 2930
11                Weald Way, Sac CA 95833.” It was postmarked on December 4, 2023, from
12                ZIP code 95301.
13            f. Subject Parcel 6 is a USPS Ground Advantage parcel bearing tracking
14                number 9302 0109 4989 0004 4978 48 addressed to “Online Makeup Store,
15                5521 Mission Road, #394, Bonsall, CA 92003-2518” with the return address
16                of “Yvette E Gil Hernandez, 222 Harrison Ave, San Diego, CA 92113-2322.”
17                The parcel is a “return parcel” and a postmark date and zip are not listed.
18            g. Subject Parcel 7 is a USPS Ground Advantage parcel bearing tracking
19                number 9302 0109 4989 0008 5874 08 addressed to “Online Makeup Store,
20                5521 Mission Road, #394, Bonsall, CA 92003-2518” with the return address
21                of “Trisha Bishop, 8732 E. San Victor Dr, Scottsdale, AZ 85258-1914.” The
22                parcel is a “return parcel” and a postmark date and zip are not listed.
23            h. Subject Parcel 8 is a USPS Ground Advantage parcel bearing tracking
24                number 9302 0109 4989 0008 5626 56 addressed to “Online Makeup Store,
25                5521 Mission Road, #394, Bonsall, CA 92003-2518” with the return address
26                of “Kari Greaves, 422 E. Valley View Dr, Preston, ID 83263-1543.” The
27                parcel is a “return parcel” and a postmark date and zip are not listed.
28
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 1            i. Subject Parcel 9 is a USPS Ground Advantage parcel bearing tracking
 2                number 9302 0109 4989 0003 9706 49 addressed to “Online Makeup Store,
 3                5521 Mission Road, #394, Bonsall, CA 92003-2518” with the return address
 4                of “Gizelle Moses, 31555 Vorenburg Rd, Calhan, CO 80808-9027.” The
 5                parcel is a “return parcel” and a postmark date and zip are not listed.
 6            j. Subject Parcel 10 is a USPS Ground Advantage parcel bearing tracking
 7                number 9302 0109 4989 0008 5341 98 addressed to “Online Makeup Store,
 8                5521 Mission Road, #394, Bonsall, CA 92003-2518” with the return address
 9                of “Scott Campbell, 4120 Baxter Trl, Suwanee, GA 30024-8384.” The parcel
10                is a “return parcel” and a postmark date and zip are not listed.
11            k. Subject Parcel 11 is a USPS Ground Advantage parcel bearing tracking
12                number 9302 0109 4989 0009 1034 92 addressed to “Online Makeup Store,
13                5521 Mission Road, #394, Bonsall, CA 92003-2518” with the return address
14                of “Linda Johnson, 16478 Lower Colfax Rd, Grass Valley, CA 95945-7914.”
15                The parcel is a “return parcel” and a postmark date and zip are not listed.
16            l. Subject Parcel 12 is a USPS Ground Advantage parcel bearing tracking
17                number 9302 0109 4989 0010 2003 95 addressed to “Online Makeup Store,
18                5521 Mission Road, #394, Bonsall, CA 92003-2518” with the return address
19                of “Judy Hatfield, 575 Northstar Drive, Saint George, UT 84770.” The parcel
20                is a “return parcel” and a postmark date and zip are not listed.
21            m. Subject Parcel 13 is a USPS Ground Advantage parcel bearing tracking
22                number 9302 0109 4989 0008 8224 79 to “Online Makeup Store, 5521
23                Mission Road, #394, Bonsall, CA 92003-2518” with the return address of
24                “Dianne Pittman, 40929 Ccascado Pl, Fremont, CA 94539-3744.” The parcel
25                is a “return parcel” and a postmark date and zip are not listed.
26            n. Subject Parcel 14 is a USPS Ground Advantage parcel bearing tracking
27                number 9302 0109 4989 0008 6323 13 addressed to “Online Makeup Store,
28                5521 Mission Road, #394, Bonsall, CA 92003-2518” with the return address
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 1                of “Mary N. Windham, 360 E. Lake Sue Avenue, Winter Park, FL 32789-
 2                5831.” The parcel is a “return parcel” and a postmark date and zip are not
 3                listed.
 4              o. Subject Parcel 15 is a USPS Ground Advantage parcel bearing tracking
 5                number 9302 0109 4989 0008 2925 31 addressed to “Online Makeup Store,
 6                5521 Mission Road, #394, Bonsall, CA 92003-2518” with the return address
 7                of “James A Ogle, 14833 Timber Ridge Ln, Marthasville, MO 63357-2147.”
 8                The parcel is a “return parcel” and a postmark date and zip are not listed.
 9              p. Subject Parcel 16 is a USPS Ground Advantage parcel bearing tracking
10                number 9300 1201 1141 1135 2508 17 addressed to “Maria Rosa Serrano,
11                8400 NW 25th St (BM-429080), Suite 100 Doral, Miami, FL 33191” with the
12                return address of “Online Makeup Store, 5521 Mission Road, #394, Bonsall,
13                CA 92003-2518.” The parcel is a “return to sender parcel.” It was originally
14                postmarked on November 13, 2023, from ZIP code 92003.
15              q. Subject Parcel 17 is a USPS Ground Advantage parcel bearing tracking
16                number 9300 1201 1141 1166 2760 46 addressed to “Nancy Adiegwu, 8640
17                S 82nd CT APT 10, Hickory Hills, IL 60457-1150” with the return address of
18                “Online Makeup Store, 5521 Mission Road, #394, Bonsall, CA 92003-2518.”
19                The parcel is a “return to sender parcel.” It was originally postmarked on
20                November 24, 2023, from ZIP code 92003.
21              r. Subject Parcel 18 is a USPS Ground Advantage parcel bearing tracking
22                number 9300 1201 1141 1180 1956 44 addressed to “Koji Onoe, 6507 Ocean
23                Crest Dr V318, Rancho Palos Verdes, CA 90275-5464” with the return
24                address of “Online Makeup Store, 5521 Mission Road, #394, Bonsall, CA
25                92003-2518.” The parcel is a “return to sender parcel.” It was originally
26                postmarked on November 27, 2023, from ZIP code 92003.
27         3.     Based on information below, I submit there is probable cause to believe that
28 Subject Parcels 1 through 18 contain evidence of a crime, contraband, fruits of crime and
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 1 property used in committing a crime, including violations of Title 18, United States Code,
 2 Sections 1341 (mail fraud), and 1349 (fraud conspiracy),
 3         4.     The facts set forth in this affidavit are based on my own personal knowledge;
 4 knowledge obtained from other individuals during my participation in this investigation,
 5 including other law enforcement officers, my review of documents and affidavits related
 6 to this investigation; communications with others who have personal knowledge of the
 7 events and circumstances described herein; and information gained through my training
 8 and experience. Because this affidavit is submitted for the limited purpose of establishing
 9 probable cause in support of the application for a search warrant, it does not set forth each
10 and every fact that I or others have learned during the course of this investigation. All
11 dates and times discussed below are approximate.
12                                  TRAINING AND EXPERIENCE
13         5.     I am a Federal Agent employed as a Postal Inspector by the USPIS. I am an
14 “investigative or law enforcement officer” of the United States within the meaning of 18
15 U.S.C. 2510(7) and a federal law enforcement officer under Fed. R. Crim. P. 41(a)(2)(C).
16 I am empowered by law to conduct investigations of, and to make arrests for, offenses
17 enumerated in 18 U.S.C. 3061.
18         6.     I am a Postal Inspector employed by the USPIS in San Diego, California. I
19 have been employed as a Postal Inspector since March 2008, and am currently assigned to
20 the San Diego Mail Fraud Team. My primary responsibility is the investigation of fraud
21 involving the U.S. Mail. I have personally conducted criminal investigations involving
22 violations of federal statutes, including 18 U.S.C. § 1341 (Mail Fraud), 18 U.S.C. § 1343
23 (Wire Fraud), 18 U.S.C. §§ 1956 and 1957 (Money Laundering), and related statutes,
24 including schemes that involve the use of the Mail to further various fraud schemes. While
25 conducting my duties, I have been in contact with other law enforcement contacts and have
26 spoken with other law enforcement personnel, suspects, victims, and witnesses and learned
27 different methods by which the crime of fraud is committed.
28
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 1         7.     Prior to my position as a Postal Inspector, I was employed as a Diversion
 2 Investigator for the Drug Enforcement Administration for five years. As a Diversion
 3 Investigator, I was responsible for conducting narcotics and fraud investigations. Based
 4 on my training, experience, and speaking with other investigators, I know that mail fraud
 5 cases often involve a complex organization of multiple individuals acting together to
 6 conspire, aid, or abet.
 7                                   PROBABLE CAUSE
 8         Background
 9         8.     Since August 2023, the California Highway Patrol (CHP) and Homeland
10 Security Investigations (HSI), with assistance from corporate investigators employed by
11 ULTA Beauty, have been investigating the theft and resale of beauty retail merchandise.
12 In the fall of 2023, investigators identified 12 subjects who appeared to be working in
13 coordination to steal from UTLA Beauty.
14         9.     Records collected by CHP Officer M. Diehl, which include surveillance and
15 arrest records, show that, between September 11, 2021 and November 2023, the 12 subjects
16 committed over 230 thefts from ULTA Beauty retail stores nationwide, with the reported
17 losses exceeding $600,000.00. The thefts that occurred in California included the following
18 counties: Sacramento, Yolo, Solano, Alameda, San Joaquin, Contra Costa, Santa Clara,
19 Los Angeles, Orange, and San Diego.
20         10.    Two of the identified members of this ring were Kimora GOODING and
21 Serena REYES. Records obtained from ULTA Beaty indicate that GOODING has
22 participated in 95 theft incidents nationwide, with 69 of those incidents occurring in
23 California, while REYES has participated in 57 theft incidents nationwide, with 7
24 occurring in California.
25         11.    Officer Diehl learned REYES and GOODING were arrested on the East Coast
26 following a series of thefts from retail establishments. During an interview with REYES
27 conducted by the local authorities, REYES indicated that a subject in California had
28 requested that she (REYES) and GOODING commit the thefts. REYES said that the
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 1 subject, who communicated with them via Facebook, would pay for their airfare, rent their
 2 vehicles, and pay their travel expenses. The subject would also provide them with a list of
 3 retail stores to target, along with the retail merchandise she sought. Investigators were able
 4 to corroborate some of this information during a consensual search of REYES’s phone.
 5         Identification of MACK
 6         12.    On September 22, 2023, Officer Diehl obtained a state warrant to search the
 7 cell phone found on GOODING at the time of her arrest.
 8         13.    On September 26, 2023, after a Digital Forensic Extraction (DFE) had been
 9 completed on GOODING’s cellular phone, Officer Diehl began reviewing the “chats” on
10 GOODING’s cellular phone and located a WhatsApp conversation with telephone number
11 (480) 241-4929 that began in December 2022 and continued until GOODING’s arrest in
12 August 2023. Officer Diehl conducted a public record check for (480) 241-4929 and saw
13 that it was registered to Michelle Paulette MACK, 30434 Montrachet Street, Bonsall, CA
14 92003. (Telephone number (480) 241-4929 is also the phone number that MACK listed
15 on her application for the Subject PO Box, as is the 30434 Montrachet Street address.)
16         14.    Over the course of the WhatsApp conversation with MACK, GOODING
17 offered to sell cosmetics, sunglasses, and designer purses to MACK, and made comments
18 suggesting that the items were stolen. It is estimated hundreds of transactions were
19 documented in the conversation discussing the purchase and sales of hundreds-of-
20 thousands of dollars-worth of retail merchandise that appeared to be stolen.
21         15.    During the chats, MACK appeared to put GOODING in touch with other
22 people involved in retail theft, including by providing their telephone numbers and telling
23 GOODING to use her name as a reference. MACK also provided GOODING with lists of
24 items to steal, quantities, and prices she would pay.
25         16.    At one point, GOODING told MACK that she (GOODING) would be
26 traveling to steal more items and would ship them to MACK while she was away.
27 GOODING then asked MACK for an address and MACK provided Online Makeup Store,
28 5521 Mission Road #394, Bonsall, CA 92003 (the Subject PO Box).
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 1         17.    The chats with GOODING led officers to believe that MACK was likely
 2 selling the stolen items on an eCommerce platform. An online search for the specific items
 3 on Amazon that MACK had requested from GOODING led investigators to identify an
 4 Amazon seller with the name “Online Makeup Store.”               (This is the same business
 5 associated with the Subject PO Box.) Officer Diehl accessed the Amazon Storefront for
 6 Online Makeup Store and discovered there were over 300 items listed for sale by that seller,
 7 with multiples of each item. The items listed for sale were nearly fifty percent off the actual
 8 retail price, which was included in the sales listing. This steep discount suggested the items
 9 were being fenced.
10         18.    During the investigation, officers located a business license filing provided to
11 the state of California by MACK, which described her business of 95 & Sunny, Inc. The
12 business license described its formation within Arizona and was transferred to California,
13 with a principal address at 30434 Montrachet Street, Bonsall, CA 92003 (MACK’s
14 residence). MACK was listed as the Chief Executive Officer (CEO), Secretary, and Chief
15 Financial Officer (CFO).
16         19.    On October 3, 2023, Officer Diehl contacted an Amazon Senior Program
17 Manager. Officer Diehl provided MACK’s name and telephone number and asked if she
18 had a sellers account with Amazon. The Amazon representative informed Officer Diehl
19 that MACK had a registered account of Online Makeup Store, with a Seller ID:
20 A28PH6N8THLJSP.
21         20.    On October 5, 2023, Officer Diehl contacted an ULTA Beauty representative
22 about some of the products listed for sale on MACK’s Online Makeup Store. Officer Diehl
23 asked if the prices of items being sold through Online Makeup Store could be profitable
24 for a legitimate business. The ULTA employee said no, that the identified items being sold
25 online were either at or below the cost for ULTA Beauty to purchase the items at wholesale
26 value. The ULTA employee was skeptical that a small business vendor could legitimately
27 acquire the products at lower cost than ULTA Beauty, given ULTA’s size and buying
28
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 1 power, and suspected that the seller could only maintain a profitable business if the items
 2 sold were acquired illegitimately.
 3          21.    On October 5, 2023, Officer Diehl obtained a state search warrant granting
 4 the search of MACK’s Amazon account identified as Online Makeup Store.
 5          22.    On November 14, 2023, Officer Diehl received the requested information
 6 from Amazon, which identified MACK as the operator of Online Makeup Store, also
 7 known as 95 & Sunny Inc. Amazon also provided its most recent business addresses for
 8 Online Makeup Store: 30434 Montrachet Street, Bonsall, CA 92003 (MACK’s personal
 9 address) and 5521 Mission Road #394, Bonsall, CA 92003 (the Subject PO Box).
10          23.    Amazon also provided sales records for Online Makeup Store, which
11 described the 022 reporting on MACK’s 1099-K as $1,890,887.82. Since the inception of
12 MACK’s Amazon sales platform in 2012, MACK had sold nearly $8,000,000.00 worth of
13 cosmetic items through the site.
14          24.    On October 9, 2023, officers reviewed scanned images of packages being
15 received at the USPS Office that served the Subject PO Box and MACK’s residence.
16 Officers discovered MACK was receiving many packages. While reviewing the scanned
17 images, Officer Diehl discovered several packages sent by people who identified
18 themselves as “China Johnson”, “Desha Johnson”, “Tati Woodward”, and “Elena
19 Beckmon”.
20          25.    Officer Diehl accessed public and law enforcement databases and identified
21 all four of these senders as individuals previously tied to retail theft from ULTA Beauty
22 stores. “China Johnson” appears to be an alias for CHINA MCDOWELL, “Desha
23 Johnson” appears to be an alias for DESHA MCDOWELL (China’s sister), “Tati
24 Woodward” appears to be a nickname for Tatiana WOODWARD, and “Elena Beckmon”
25 appears to be BECKMON’s true name.
26          26.    According to ULTA Beauty, WOODWARD is connected to approximately
27 $120,000.00 in thefts in the past three (3) months and recently targeted ULTA Beauty retail
28 stores in Pennsylvania. BECKMON had multiple arrests throughout California related to
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 1 thefts from ULTA Beauty retail stores, while DESHA MCDOWELL was arrested by the
 2 Modesto Police Department for a theft that she committed with CHINA MCDOWELL at
 3 an ULTA Beauty retail store. ULTA records also tie CHINA MCDOWELL to eight theft
 4 incidents at ULTA Beauty stores in California.
 5          27.    Notably, Subjects Parcels 1 through 5 were all sent to the Subject PO Box
 6 by “Chyna Johnson, 2930 Weald Way, Sac CA 95833.” According to CHP investigators,
 7 this Sacramento address is CHINA MCDOWELL’s address.
 8          The Search of MACK’s Residence
 9          28.    On December 6, 2023, I was contacted by HSI Special Agent Kolonoski.
10 Agent Kolonski informed me HSI agents and CHP Officers had just conducted a search
11 warrant at MACK’s residence. Agent Kolonski informed me MACK was arrested on state
12 charges. I also learned agents located and seized hundreds of parcels prepped for shipment
13 that would be ultimately mailed at the local Post Office, which is the same Post Office that
14 hosts the Subject PO Box.
15          29.    Additional items located at MACK’s residence and seized as evidence
16 included thousands of ULTA Beauty and Sephora cosmetics exceeding $350,000 in retail
17 value. Agents described the garage setup at MACK’s residence as a “mini store.” Agents
18 also located and seized Sunglass Hut products with sales tags still affixed. Agent Kolonski
19 requested a copy of MACK’s P.O. Box application for the Subject PO Box at the Bonsall
20 Post Office. Agent Kolonski also requested seizure of any parcels that were identified as
21 belonging to the Subject PO Box and specifically MACK and her business, “Online
22 Makeup Store,” based on the probable cause of this investigation.
23          30.    I obtained a copy of MACK’s PO Box application, which I provided to Agent
24 Kolonski. On December 8, 2023, I arrived at the Bonsall Post Office located at 5521
25 Mission Road, Bonsall, CA 92003. I met with the Postmaster who provided me with 18
26 parcels previously described herein as Subject Parcels 1 through 18.
27
28
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 1          31.    As mentioned above, Subject Parcels 1 through 5 appear to be shipments
 2 sent to MACK by her coconspirator CHINA MCDOWELL. These packages are likely to
 3 have items that MCDOWELL or her coconspirators stole and sole to MACK.
 4          32.    According to the packages’ exterior markings, Subject Parcels 6 through 15
 5 have preprinted labels identifying them as “returns” to Online Makeup Store. These
 6 packages are likely stolen goods that MACK previously sold through her eCommerce site
 7 that are being returned to her by marketplace customers.
 8          33.    According to exterior markings, Subject Parcels 16 through 18 all have
 9 “return to sender” labels affixed that indicate the items could not be delivered as addressed.
10 These items, which appear to have been shipped by Online Makeup Store, are also likely
11 to be stolen items sold by MACK.
12          34.    Based on the facts set forth in this affidavit, I submit that there is probable
13 cause to believe items contained in the Subject Parcels are goods stolen from retail
14 establishments. Accordingly, I seek the issuance of a search warrant directing the search
15 of the articles as described above and the seizure of the articles and contents, including any
16 stolen retail merchandise, all in violation of Title 18, United States Code, Sections 1341
17 (mail fraud), and 1349 (mail fraud conspiracy).
18          35.    Based upon my training, experience, and knowledge, MACK uses the Subject
19 PO Box and United States Mail to send and receive stolen retail products based on (but
20 not limited to) the following facts: MACK is CEO, Secretary, and CFO of a business
21 dealing in Amazon online sales, which is registered to her home address; this same online
22 business sells new makeup products at half price, which is lower than major retailers like
23 ULTA Beauty and a common characteristic of sales of stolen goods; cellphone evidence
24 shows MACK instructing REYES and GOODING to send stolen products to the Subject
25 PO Box, which is the same address where this investigation shows MACK receiving stolen
26 retail merchandise from coconspirators such as CHINA MCDOWELL, DESHA
27 MCDOWELL, WOODWARD, and BECKMON.
28
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 1          36.    The Subject Parcels are currently in the custody of Postal Inspector Darin
 2 White and located within the Southern District of California at 10060 Willow Creek Rd,
 3 San Diego, CA 92131.
 4          37.    I declare under penalty and perjury the foregoing is true and correct to the best
 5 of my knowledge and belief.
 6
 7                                           ________________________
                                             DARIN M. WHITE
 8
                                             United States Postal Inspector
 9
10
11 Sworn and attested to under oath by telephone, in accordance with Federal Rule of
12 Criminal Procedure 4.1 on December 13, 2023.
13
14
                                             ________________________________
15                                           HONORABLE MICHAEL S. BERG
16                                           United States Magistrate Judge
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                            ATTACHMENT A
                        PARCELS TO BE SEARCHED

The following property is to be searched:

      a. Subject Parcel 1 is a Priority Mail parcel bearing tracking number 9505
         5130 0563 3338 4968 13 addressed to “Online Makeup Store, 5521
         Mission Road, #394, Bonsall, CA 92003 with the return address of “Chyna
         Johnson, 2930 Weald Way, Sac CA 95833.” It was postmarked on
         December 4, 2023, from ZIP code 95301.

      b. Subject Parcel 2 is a Priority Mail parcel bearing tracking number 9505
         5130 0563 3338 4967 76 addressed to “Online Makeup Store, 5521
         Mission Road, #394, Bonsall, CA 92003” with the return address of
         “Chyna Johnson, 2930 Weald Way, Sac CA 95833.” It was postmarked
         on December 4, 2023, from ZIP code 95301.

      c. Subject Parcel 3 is a Priority Mail parcel bearing tracking number 9505
         5130 0563 3338 4968 51 addressed to “Online Makeup Store, 5521
         Mission Road, #394, Bonsall, CA 92003” with the return address of
         “Chyna Johnson, 2930 Weald Way, Sac CA 95833.” It was postmarked
         on December 4, 2023, from ZIP code 95301.

      d. Subject Parcel 4 is a Priority Mail parcel bearing tracking number 9505
         5130 0563 3338 4967 90 addressed to “Online Makeup Store, 5521
         Mission Road, #394, Bonsall, CA 92003” with the return address of
         “Chyna Johnson, 2930 Weald Way, Sac CA 95833.” It was postmarked
         on December 4, 2023, from ZIP code 95301.

      e. Subject Parcel 5 is a Priority Mail parcel bearing tracking number 9505
         5130 0563 3338 4968 37 addressed to “Online Makeup Store, 5521
         Mission Road, #394, Bonsall, CA 92003” with the return address of
         “Chyna Johnson, 2930 Weald Way, Sac CA 95833.” It was postmarked
         on December 4, 2023, from ZIP code 95301.
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    f. Subject Parcel 6 is a USPS Ground Advantage parcel bearing tracking
       number 9302 0109 4989 0004 4978 48 addressed to “Online Makeup
       Store, 5521 Mission Road, #394, Bonsall, CA 92003-2518” with the return
       address of “Yvette E Gil Hernandez, 222 Harrison Ave, San Diego, CA
       92113-2322.” The parcel is a “return parcel” and a postmark date and zip
       are not listed.

    g. Subject Parcel 7 is a USPS Ground Advantage parcel bearing tracking
       number 9302 0109 4989 0008 5874 08 addressed to “Online Makeup
       Store, 5521 Mission Road, #394, Bonsall, CA 92003-2518” with the return
       address of “Trisha Bishop, 8732 E. San Victor Dr, Scottsdale, AZ 85258-
       1914.” The parcel is a “return parcel” and a postmark date and zip are not
       listed.

    h. Subject Parcel 8 is a USPS Ground Advantage parcel bearing tracking
       number 9302 0109 4989 0008 5626 56 addressed to “Online Makeup
       Store, 5521 Mission Road, #394, Bonsall, CA 92003-2518” with the return
       address of “Kari Greaves, 422 E. Valley View Dr, Preston, ID 83263-
       1543.” The parcel is a “return parcel” and a postmark date and zip are not
       listed.

    i. Subject Parcel 9 is a USPS Ground Advantage parcel bearing tracking
       number 9302 0109 4989 0003 9706 49 addressed to “Online Makeup
       Store, 5521 Mission Road, #394, Bonsall, CA 92003-2518” with the return
       address of “Gizelle Moses, 31555 Vorenburg Rd, Calhan, CO 80808-
       9027.” The parcel is a “return parcel” and a postmark date and zip are not
       listed.

    j. Subject Parcel 10 is a USPS Ground Advantage parcel bearing tracking
       number 9302 0109 4989 0008 5341 98 addressed to “Online Makeup
       Store, 5521 Mission Road, #394, Bonsall, CA 92003-2518” with the return
       address of “Scott Campbell, 4120 Baxter Trl, Suwanee, GA 30024-8384.”
       The parcel is a “return parcel” and a postmark date and zip are not listed.
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    k. Subject Parcel 11 is a USPS Ground Advantage parcel bearing tracking
       number 9302 0109 4989 0009 1034 92 addressed to “Online Makeup
       Store, 5521 Mission Road, #394, Bonsall, CA 92003-2518” with the return
       address of “Linda Johnson, 16478 Lower Colfax Rd, Grass Valley, CA
       95945-7914.” The parcel is a “return parcel” and a postmark date and zip
       are not listed.

    l. Subject Parcel 12 is a USPS Ground Advantage parcel bearing tracking
       number 9302 0109 4989 0010 2003 95 addressed to “Online Makeup
       Store, 5521 Mission Road, #394, Bonsall, CA 92003-2518” with the return
       address of “Judy Hatfield, 575 Northstar Drive, Saint George, UT 84770.”
       The parcel is a “return parcel” and a postmark date and zip are not listed.

    m. Subject Parcel 13 is a USPS Ground Advantage parcel bearing tracking
       number 9302 0109 4989 0008 8224 79 to “Online Makeup Store, 5521
       Mission Road, #394, Bonsall, CA 92003-2518” with the return address of
       “Dianne Pittman, 40929 Ccascado Pl, Fremont, CA 94539-3744.” The
       parcel is a “return parcel” and a postmark date and zip are not listed.

    n. Subject Parcel 14 is a USPS Ground Advantage parcel bearing tracking
       number 9302 0109 4989 0008 6323 13 addressed to “Online Makeup
       Store, 5521 Mission Road, #394, Bonsall, CA 92003-2518” with the return
       address of “Mary N. Windham, 360 E. Lake Sue Avenue, Winter Park, FL
       32789-5831.” The parcel is a “return parcel” and a postmark date and zip
       are not listed.

    o. Subject Parcel 15 is a USPS Ground Advantage parcel bearing tracking
       number 9302 0109 4989 0008 2925 31 addressed to “Online Makeup
       Store, 5521 Mission Road, #394, Bonsall, CA 92003-2518” with the return
       address of “James A Ogle, 14833 Timber Ridge Ln, Marthasville, MO
       63357-2147.” The parcel is a “return parcel” and a postmark date and zip
       are not listed.

    p. Subject Parcel 16 is a USPS Ground Advantage parcel bearing tracking
       number 9300 1201 1141 1135 2508 17 addressed to “Maria Rosa Serrano,
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        8400 NW 25th St (BM-429080), Suite 100 Doral, Miami, FL 33191” with
        the return address of “Online Makeup Store, 5521 Mission Road, #394,
        Bonsall, CA 92003-2518.” The parcel is a “return to sender parcel.” It was
        originally postmarked on November 13, 2023, from ZIP code 92003.

     q. Subject Parcel 17 is a USPS Ground Advantage parcel bearing tracking
        number 9300 1201 1141 1166 2760 46 addressed to “Nancy Adiegwu,
        8640 S 82nd CT APT 10, Hickory Hills, IL 60457-1150” with the return
        address of “Online Makeup Store, 5521 Mission Road, #394, Bonsall, CA
        92003-2518.” The parcel is a “return to sender parcel.” It was originally
        postmarked on November 24, 2023, from ZIP code 92003.

     r. Subject Parcel 18 is a USPS Ground Advantage parcel bearing tracking
        number 9300 1201 1141 1180 1956 44 addressed to “Koji Onoe, 6507
        Ocean Crest Dr V318, Rancho Palos Verdes, CA 90275-5464” with the
        return address of “Online Makeup Store, 5521 Mission Road, #394,
        Bonsall, CA 92003-2518.” The parcel is a “return to sender parcel.” It was
        originally postmarked on November 27, 2023, from ZIP code 92003.

(Collectively, the “Subject Parcels.”) The Subject Parcels are in the custody
of the USPS in San Diego, California at 10060 Willow Creek Rd, San Diego,
CA 92131.
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                               ATTACHMENT B
                             ITEMS TO BE SEIZED

The items to be seized from the Subject Parcels are:

   a. Retail merchandise, new or unopened, including ULTA Beauty, Sephora,
      luxury handbags, and Sunglass Hut products;

   b. Materials and documents reflecting or relating to the distribution and sale of
      stolen retail merchandise;

   c. Any packaging associated with evidence seized under (a) or (b);

which constitute the fruits, instrumentalities, and evidence of violations of Title 18,
United States Code, Sections 1341 (mail fraud), and 1349 (fraud conspiracy).
